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Feb. 12 [2020] Redistricting
Letter re: 9/17 hearing – input due 5/15
    ‐   Non‐members invited (but may not be space)
    ⮚   Fall one on one meetings w/Huffman + BVP
    ⮚   Any preferences, addresses (DO/residence)
Legal + Records Retention – Patsy is research
Everything is retained @ committee, already getting
Open records requests


(page 2)
Atty/client privlige [sic] is less waived than
Lege privlige [sic]
Brian Fisher @ OAG – counciling [sic]
Jeff Archer @ Lege Council
Wendy Underhill @ NCSL
Sec. 2 – cracking + packing > most of
Challenges
Drop Box – will share w/all Senate
American Comm Survey – last estimates
2‐3 more CDs
“Very little change would be necessary for you
all being you’re close to ideal size,
I wouldn’t anticipate much movement for
You, other than slightly tweaking your
District” > Sean
